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IN THE UNITED sTATEs DISTRICT coURT aY“ D‘C'

 

FoR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED STATES OF AMERICA,
Plaintiff,
vs. Cr. No. 04-20241-B[P

CURTIS BYRD,

Defendant.

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ORDER GRANTING DEFENDANT'S MOTION TO WITHDRAW REPRESENTATION

 

Before the court is defendant’s Motion to Withdraw
Representation, filed June 27, 2005 (dkt #94). Counsel notified
the Court that he is moving out of state beginning July 15, 2005,
therefore, the motion is GRANTED. The Clerk of Court is to appoint
new counsel from the CJA Panel to represent the defendant in this
matter.

IT IS SO ORDERED.

 

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TU M. PHAM ‘
United States Magistrate Judge

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Date

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UNITED S`TATE D"ISIC COUR - WESTRNE D'S'TRCT oFTENNESSEE

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Honorable J. Breen
US DISTRICT COURT

